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&lt;P&gt;&lt;SPAN STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

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&lt;P&gt;&lt;STRONG&gt;&lt;HR ALIGN="CENTER" WIDTH="26%"&gt;
&lt;/STRONG&gt;&lt;/P&gt;
&lt;CENTER&gt;NO. 03-0&lt;A NAME="1"&gt;1&lt;/A&gt;-00260&lt;A NAME="2"&gt;&lt;/A&gt;-CV&lt;/CENTER&gt;


&lt;P&gt;&lt;STRONG&gt;&lt;HR ALIGN="CENTER" WIDTH="26%"&gt;
&lt;/STRONG&gt;&lt;/P&gt;



&lt;CENTER&gt;&lt;A NAME="3"&gt;&lt;/A&gt;In re Kirk Wayne McBride&lt;/CENTER&gt;


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&lt;P&gt;&lt;STRONG&gt;	&lt;/STRONG&gt;&lt;/P&gt;

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&lt;P&gt;&lt;STRONG&gt;&lt;HR SIZE="3"&gt;
&lt;/STRONG&gt;&lt;/P&gt;
&lt;SPAN STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;ORIGINAL PROCEEDING FROM &lt;A NAME="4"&gt;&lt;/A&gt;COMAL COUNTY&lt;A NAME="5"&gt;&lt;/A&gt;&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
&lt;/STRONG&gt;

&lt;P&gt;&lt;STRONG&gt;&lt;HR SIZE="3"&gt;
&lt;/STRONG&gt;&lt;/P&gt;


&lt;STRONG&gt;PER CURIAM&lt;/STRONG&gt;

&lt;P&gt;The petition for writ of mandamus is denied.  &lt;EM&gt;See&lt;/EM&gt; Tex. R. App. P. 52.8(a).&lt;/P&gt;

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&lt;P&gt;Before Justices Kidd, B. A. Smith and Puryear&lt;/P&gt;

&lt;P&gt;Filed:   May 30, 2001&lt;/P&gt;

&lt;P&gt;Do Not Publish&lt;/P&gt;

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